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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION


In re: Ethicon, Inc.
Pelvic Repair System                                                            MDL: 2327
Products Liability Litigation

This Document Relates to All Cases


                                         ORDER

       Pending is Nicholas H. Patton’s Motion to Withdraw as Counsel, filed August 26, 2013.

Mr. Patton seeks an order granting his leave to withdraw from all member actions in which he

has appeared in MDL 2327. It is ORDERED that Mr. Patton’s Motion is GRANTED. The Clerk

is instructed to terminate Mr. Patton where he appears as counsel for any party in this MDL and

in any member case in this MDL.

       The Court DIRECTS the Clerk to file a copy of this order in 2:12-md-2327 and in each

member case in which Mr. Patton has appeared.

       Entered this             day of                    , 2013.




                                                   JOSEPH GOODWIN
                                                   UNITED STATES DISTRICT JUDGE
